ILND 450 (Rev. Case:    1:17-cv-00748
               10/13) Judgment in a Civil Action Document   #: 92 Filed: 04/24/18 Page 1 of 1 PageID #:4193

                                     IN THE UNITED STATES DISTRICT COURT
                                                   FOR THE
                                        NORTHERN DISTRICT OF ILLINOIS

John Doe,

Plaintiff(s),
                                                                   Case No. 17 C 748
v.                                                                 Judge Amy J. St. Eve

Columbia College Chicago and Jane Roe,

Defendant(s).

                                               JUDGMENT IN A CIVIL CASE

Judgment is hereby entered (check appropriate box):

                  in favor of plaintiff(s)
                  and against defendant(s)
                  in the amount of $       ,

                           which        includes       pre–judgment interest.
                                        does not include pre–judgment interest.

         Post-judgment interest accrues on that amount at the rate provided by law from the date of this judgment.

         Plaintiff(s) shall recover costs from defendant(s).


                  in favor of defendant(s) Columbia College Chicago and Jane Roe
                  and against plaintiff(s) John Doe.
.
         Defendant(s) shall recover costs from plaintiff(s).


                  other:

This action was (check one):

   tried by a jury with Judge       presiding, and the jury has rendered a verdict.
   tried by Judge     without a jury and the above decision was reached.
   decided by Judge Amy J. St. Eve on motions to dismiss and the parties’ voluntary dismissals disposing of all
remaining claims as to all parties.



Date: 4/24/2018                                                 Thomas G. Bruton, Clerk of Court

                                                                Katie Franc, Deputy Clerk
